         Case 2:11-cv-01159-PBT                I   Document 1 Filed 02/17/11 Page 1 of 1
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                                         UNITED STATES DISTRICT COURT
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                                    E~TERN DIS11UCT OF PENNSYLVANIA




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